       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Cenk Sidar
       v. Jane Doe
       Record No. 0837-23-4
       Opinion rendered by Senior Judge Haley on
        April 16, 2024

    2. Michael R. Agnew, et al.
       v. United Leasing Corporation
       Record No. 1724-22-2
       Opinion rendered by Judge Malveaux on
        April 30, 2024

    3. Michael Jason Drexel
       v. Commonwealth of Virginia
       Record No. 1805-22-4
       Opinion rendered by Chief Judge Decker on
        May 7, 2024

    4. Hunter Lee, III
       v. Commonwealth of Virginia
       Record No. 0053-23-2
       Opinion rendered by Judge Beales on
        May 7, 2024

    5. Brian Edward Sheets
       v. Commonwealth of Virginia
       Record No. 0081-23-3
       Opinion rendered by Judge Beales on
        May 7, 2024

    6. Richard Rebh, et al.
       v. The County Board of Arlington County, Virginia
       Record No. 0240-23-4
       Opinion rendered by Judge Callins on
        May 7, 2024
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Travis Alexander Bland Henderson, s/k/a Travis Alexander Bland-Henderson
   v. Commonwealth of Virginia
   Record No. 1359-21-2
   Opinion rendered by Judge Raphael
      on April 11, 2023
    Judgment of Court of Appeals affirmed by opinion rendered on June 20, 2024
     (230327)

2. Bryan Temple Smith
   v. Commonwealth of Virginia
   Record No. 0169-22-2
   Opinion rendered by Judge Raphael
     on September 5, 2023
   Refused (230707)

3. Ronald Dean Northcraft
   v. Commonwealth of Virginia
   Record No. 1067-21-2
   Opinion rendered by Judge Malveaux
     on September 26, 2023
   Refused (230768)

4. Jamal Kevin Bailey
    v. Commonwealth of Virginia
   Record No. 0676-22-2
    Opinion rendered by Judge Beales
      on October 10, 2023
    Refused (230773)

5. Kishna Shirese Minor, et al.
   v. Anne M. Heishman, etc.
   Record No. 0980-22-4
   Opinion rendered by Judge Fulton
     on October 10, 2023
   Refused (230811)

6. Thomas Edward Clark
   v. Commonwealth of Virginia
   Record No. 0620-22-2
   Opinion rendered by Senior Judge Petty
     on October 17, 2023
    Refused (230890)
7. Anthony Tremaine Stewart
   v. Commonwealth of Virginia
   Record No. 1363-22-3
   Opinion rendered by Judge Callins
     on November 8, 2023
   Refused (230860)

8. Donald Calway
   v. City of Chesapeake
   Record No. 1692-22-1
   Opinion rendered by Judge Ortiz
     on November 28, 2023
   Refused (230940)

9. Mary Pat Martin
   v. Ryan S. LaFountain, Commissioner of Revenue for the City of Roanoke
   Record No. 0971-22-3
   Opinion rendered by Judge Causey
     on December 12, 2023
   Refused (240019)
       The Supreme Court issued opinions in the following cases, which had been appealed from
this Court:


    1. Rita M. Leach-Lewis, Trustee of the Rita M. Leach-Lewis Trust 18MAR13
        v. Board of Supervisors of Fairfax County, Virginia
       Record No. 0815-22-4
       Opinion rendered by Judge Lorish on June 13, 2023
       Judgment of Court of Appeals reversed and final judgment entered for appellee by
        opinion rendered on June 20, 2024
       (2130491)

    2. Michael Powell
        v. Melanie Knoepfler-Powell
       Record No. 0853-22-4
       Opinion rendered by Judge Fulton on May 16, 2023
       Judgment of Court of Appeals affirmed in part, reversed in part, and remanded by
         opinion rendered on June 27, 2024
       (230410)
